Case 1:24-cv-04108-ALC Document 3-13 Filed 05/30/24 Page1of1:

CIVIL COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX

UCIT A

AFFIDAVIT OF SERVICE #98994%
Tndex no: CV-0536]-23/BX
Date Index Number Purchased: 05/30/2023

Plauitiff(s): SYNCHRONY BANE
VS,

Defendant(s): ERIKA N WILSON

STATE OF NEW YORE

COUNTY OF WESTCHESTER $5.:

BENJAMIN LAME, the undersigned, being duly sworn, depases and says:
Tam over the ape of 18 years and not a partly to the action. [reside in the state of New York.

On 06/08/2023 at 3:16 PM, I served the within SUMMONS AND COMPLAINT with the index#CV-05361-23/BX
endorsed thereon on ERIKA N WILSON at 3540 DECATUR AVE APT 1G , BRONX, NY 10467 in the manner

indicated below:

SUITABLE AGE; by delivering thereat a tue copy of each to Chante Wilson, Co-Resident of ERIKA N WILSON,
a person of suitable age and discretion. Said premises is WRIKA N WILSON's usual place of abode within the state.

On 06/16/2023, deponent enclosed a copy of same in a first class postpaid envelope bearing the words "Personal &
Confidential" properly addressed to defendant and defendant's last known residence, at 3540 DECATUR AVE APT
1G, BRONX, NY 10467 and deposited said envelope in an official depository under the exclusive care and custody of
the U.S. Postal Service within New York State, The enyelope did not indicate on the outside thereof, by return address
or otherwise, that the communication was from an attorney or concemed an action against the defendant.

A description of the Recipient, or other person served on behalf of the Recipient is as fallaws:

Sex Color of skin Color of hair Age Height Weight
Female Black Black 25 sit 4in » Sft Gin 131-140

Other Features;

lasked the person spoken to whether he/she Defendant was in the active military service of the United States or of the
State of New York in any capacity whatever and received a negative reply. The source of my information and belief are
the conversations above narrated. Upon information and belief I aver that the recipientis not in the military service of
New York State or of the United States as thal term is defined in either the State or in the Federal statutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 06/16/2023 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID
ENVELGPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 3540
DECATUR AVE APT 1G, BRONX, NY 10467 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST
OFFICE. THE ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL" AND DID NOT
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY
OR CONCERNS AN ALLEGED DEBT.
Sworn to and subscribed before me on 06/16/2023 Ee

SENTANGN is)

License#: 1071492

Mizaltaca J and E Process Service, Inc

901 North Broadway Ste 18

Melissa A. Cyran

Notary Public, State Of New Ba N. White Plains, NY 10603
No. O1CY6228619 914-328-1069

Qualified in WESTCHESTER DCA Licenseft: 2027471
Commission Expires 9/27/26 Branch: White Plains

Atty File##: G1756067
